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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                              DOCKET NO. 4:19-cv-11093-TSH

 PAUL JONES,

        Plaintiff
                                                           DEFENDANTS’ PROPOSED
                                                           SCHEDULING ORDER
 v.

 MONTACHUSETT REGIONAL TRANSIT
 AUTHORITY, Et Al.,

        Defendants


       Pursuant to the Court’s March 15, 2021 Order, Defendants, Montachusett Regional

Transit Authority (MART), and Rebecca Badgley, Donna Landry, Bonnie Mahoney, Karen

Cordio, Joanne Norris, Stephanie Richards, Tamara Shumovskaya, Jessica Torres, Amanda

Kukta, Robert Monk, Michelle Moyo, Ivan Roman, and Crystal Geisert (collectively

“Defendants”) hereby propose the following scheduling order setting forth discovery Defendants

seek to further demonstrate that MART is not Plaintiff’s employer under Title VII and Chapter

151B. Defendants continue to assert that no additional discovery is required particularly because

the documents that Defendants seek are all in Plaintiff’s possession.

       1. Defendants will propound one set of requests for production of documents seeking

           the following category of documents:

               a. All W-2, 1099 or other tax forms Plaintiff received from Commonwealth

                    Community Recovery Division, Inc. (CCRD) from 2016 to the present;

               b. Plaintiff’s state and federal income tax forms from 2016 to 2020;

               c. Any and all documents that show Plaintiff and/or CCRD performing work for

                    transit authorities other than MART;
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                   d. Plaintiff’s submission of CCRD’s proposed rates to MART;

                   e. Plaintiff’s communications with MART regarding his schedule and hours

                      during the day he was available to provide transit for MART customers;

                   f. CCRD handbooks and/or other employee policies;

                   g. Documents identifying CCRD employees, dates worked, position(s) held and

                      amount paid; and

                   h. CCRD and/or Plaintiff’s policies of insurance, including workers

                      compensation insurance policy(s), general liability insurance policy(s) and

                      automobile insurance policy(s) for vehicles driven when transporting MART

                      customers.

        2. Defendants will be able to complete the proposed discovery within sixty (60) days of

            the Court ordered Status Conference, June 28, 2021.

        3. Defendants will file a supplemental motion for Summary Judgment by July 27, 2021.



                                                       DEFENDANTS
                                                       MONTACHUSETT REGIONAL TRANSIT
                                                       AUTHORITY et al,

                                                       By their attorneys,

                                                       /s/ Deborah I. Ecker
                                                       Mark R. Reich (BBO# 553212)
                                                       Deborah I. Ecker (BBO# 554623)
                                                       KP Law, P.C.
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Dated: April 20, 2021                                  decker@k-plaw.com
759474/MART/0006




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                                CERTIFICATE OF SERVICE

       I, Deborah I. Ecker certify that the above document will be served by first-class mail

upon any party or counsel of record who is not a registered participant of the Court's ECF

system, upon notification by the Court of those individuals who will not be served electronically.


Date: April 20, 2021                                 /s/ Deborah I. Ecker




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